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                                                                              FS pD
                      IN THE UNITED STATES DISTRICT COURT EASTERN WSTRjcfoF TFXAS I
                       FOR THE EASTERN DISTRICT OF TEXAS 1
                                  TYLER DIVISION JUN 2 1 2018 .

UNITED STATES OF AMERICA                                under mm
                                                                      DEPUTY.
v.                                                      NO. 6:18-CR- P
                                                        (Judge
BERYL-ANNE TUFON LOBE
 a/k/a BERYL-ANNE GOKALE TUFON                                                  United States Courts
                                                                              Southern District of Texas
                                      INDICTMENT                                       FILED
                                                                                    June 26, 2018
THE UNITED STATES GRAND JURY CHARGES:                                                       
                                                                            David J. Bradley, Clerk of Court
                                   General Allegations
                                                                      4:18mj1014
       At all times relevant to this Indictment:

       Medicare Program

       1. The Medicare Program ( Medicare ) is a federal health insurance program

providing benefits to persons aged 65 or older or who are blind or disabled. Medicare is

administered by the Centers for Medicare and Medicaid Services (CMS), a federal

agency under the United States Department of Health and Human Services (HHS).

Individuals who receive benefits under Medicare are referred to as Medicare

 beneficiaries.

       2. Medicare is a “health care benefit program,” as defined by 18 U.S.C. §


24(b), in that it is a public plan affecting commerce under which medical benefits, items,

and services are provided to individuals and under which individuals and entities who

provide medical benefits, items, or services may obtain payments.




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       3. Medicare is a Federal health care program, as defined by 42 U.S.C. §

1320a-7b(f), in that it is a plan or program that provides health benefits, whether directly,

through insurance, or otherwise, which is funded directly, in whole or in part, by the

United States government.


       4. CMS contracts with private insurance organizations called intermediaries”

to receive, adjudicate, and pay Medicare claims that are submitted by approved health

care providers. CMS has contracted with Palmetto GBA (a subsidiary of Blue Cross

Blue Shield of South Carolina) to serve as the intermediary for Texas and 13 other states.

       5. As part of its contract, Palmetto GBA is also required to process the

applications of home health care agencies seeking to enroll in the Medicare program to

provide home health services.


       6. Flome health services are provided by licensed medical professionals at a

patient's residence and are paid as "Medicare Part A" benefits through Medicare's

Hospital Insurance program. Examples of home health services include: intermittent

skilled nursing services, physical therapy, and speech-language pathology. Skilled

nursing services include the monitoring of blood sugar levels and the daily

administration of insulin to insulin-dependent diabetic Medicare beneficiaries.

       7. A home health care agency seeking to enroll in Medicare is responsible for

the accuracy of all information in its application. If approved, the home health care

agency is issued a unique provider number. This provider number must appear on all

claims that the agency submits for payment.




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       8.     Upon enrollment, Medicare providers are issued a provider manual that


describes the requirements to participate as a provider in the Medicare program.

Providers also periodically receive newsletters advising them of the additional

requirements for participation and instructions on what services are or are not covered by


Medicare.


       9. Contained in the provider manual are the requirements of 42 CFR § 409.42,

which mandates that all of the following requirements must be met for home health

services to be covered and reimbursable by Medicare:

              a. The beneficiary must be confined to the home or an institution that is

                      not a hospital;

              b. The beneficiary must be under the care of a physician who

                      establishes the plan of care;

              c. The beneficiary must be in need of skilled services such as

                      intermittent skilled nursing services, physical therapy, speech-

                      language pathology service, or continuing occupational therapy

                      services;


              d. The patient must be under a plan of care that meets the requirement

                      specified in Section 409.43, specifying the medical treatments to be

                      furnished as well as the type of home health discipline that will

                      furnish the ordered services and at what frequency the services will

                      be furnished; and




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              e. The home health services must be provided by, or under


                        arrangements made by, a Medicare-approved home health agency.

       10. Effective April 1, 2011, CMS initiated a new requirement for Medicare

beneficiaries who are admitted for home health services. Prior to admission or within 30

days following admission, the certifying physician must see the beneficiary face-to-

face and document the encounter on a certification form that is provided to the home

health agency. The agency must have this completed form on file prior to submitting a

claim for the period.

       11. To determine the proper level of care for a patient and ultimately the

amount of payment a home health care agency will receive, Medicare requires that home

health care agencies perform a comprehensive assessment of the patient that accurately


reflects the patient s current condition and provides information to measure his or her

progress. In making this assessment, home health care agencies are required to complete

a form called the Outcome and Assessment Information Set (OASIS).

       12. With limited exceptions, the OASIS assessment must be completed by a

registered nurse who completes a detailed checklist after examining the prospective

patient. Among other things, the OASIS contains a projection of the minimum number

and type of treatments the patient will need through home health care. The number of

home health care visits is used to determine the compensation to the home health care

agency.


       13. The OASIS information is then used to create a Plan of Care (CMS Form

485). The Plan of Care specifies the frequency of home health visits and describes the


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services to be provided to the patient. A physician must sign the CMS Form 485,

certifying that home health care is necessary and that he or she has approved the Plan of

Care.


        14. Since October 2000, Medicare has compensated home health care agencies

using the Prospective Payment System (PPS). This split-payment approach is based

upon 60-day time periods. For each episode of care, the home health care agency


submits an initial Request for Anticipated Payment (RAP), and Medicare then pays 60%

of the anticipated cost prior to the provision of services. The remaining 40% is paid after

the provision of services and upon Medicare s receipt of the home health care agency’s

final claim.

        15. If the beneficiaries are still eligible for home health services after their

initial episode of care, they may be re-cert fied for another 60-day home health episode.

For a subsequent (or re-certi ied) episode, the payment is split 50/50 between the RAP

and the final claim. There is no maximum number of home health episodes that a

beneficiary may receive.


        16. In pre-paying the home health care provider, Medicare assumes that a

certain minimum number of home health care visits will be necessary for each episode of

care. If the number of home health care visits falls below the minimum number of

expected visits for any 60-day period, the calculations for reimbursement switch to

payment on a per-visit basis for that 60-day period. This results in a lower amount of

reimbursement to the home health care agency and sometimes can even require that the


home health care agency retu money to Medicare. Consequently, when a home health



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care agency submits a final claim, it is required to represent whether the minimum

number of home health visits were made during the 60-day episode.

         17. Medicare also requires that the home health agency maintain a clinical

record of every patient s past and current condition. In addition to the patient’s Plan of

Care, the record must include signed and dated clinical progress notes and copies of

summary reports sent to the attending physician. While the form of progress notes may

vary, all progress notes must contain the identity of the home health agency employee

who performed the visit, the name of the patient, and the type of service performed.

         The Defendant and Axion Healthcare Services, LLC

         18. Beryl-Anne Tufon Lobe, a/k/a Beryl-Anne Gokale Tufon, formed Axion


Healthcare Services, LLC (A ion) in Missouri City, Texas, in or around July 2008.

         19. Axion was in the business of providing home health services to Medicare

Part A beneficiaries and billing Medicare for the purported services it provided.

         20. On December 29, 2008, a Medicare application form (CMS-855A) for

Axion was submitted to Palmetto GBA. On the application form, Beryl-Anne Tufon

Lobe, a/k/a Beryl-Anne Gokale Tufon, was listed as having an ownership interest in

Axion.


       21. On or about April 23, 2010, Axion received notification that it had met the

requirements for Medicare participation and had been issued Medicare provider number

74-7281.

       22. In or about October 2014, Beryl-Anne Tufon Lobe, a/k/a Beryl-Anne

Gokale Tufon, became the sole owner of Axion.



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       23. In or about January 2015, Axion relocated to Houston, Texas.


       24. All payments made by CMS to Axion were in the form of a pre-arranged

electronic deposit into Axion s bank account.


       25. From May-August 2015, Axion billed Medicare approximately

$225,597.35 for start of care certifications and re-certifications of beneficiaries residing

within the Eastern District of Texas. CMS paid Axion approximately $141,031.33 on

those claims.


                                         Count One

                                                           Violation; 18U.S.C. §371
                                                           (Conspiracy)

       1. The General Allegations section of this Indictment is realleged and

incorporated by reference as though fully set forth herein.

       2. From in or around May 2015, and continuing thereafter until in or about

August 2015, the exact dates being unknown to the Grand Jury, in the Eastern District of

Texas, and elsewhere, the defendant, Beryl-Anne Tufon Lobe, a/k/a Beryl-Anne


Gokale Tufon, knowingly and willfully conspired and agreed with others, both known

and unknown to the Grand Jury, to commit and abet certain offenses against the United

States, namely:


                a. to violate the Anti-Kickback statute by knowingly and willfully

                      soliciting and receiving any remuneration, including any kickback,

                      directly or indirectly, overtly or covertly, in cash or in kind, in return

                      for referring Medicare beneficiaries to Beryl-Anne Tufon Lobe,




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                      a/k/a Beryl-Anne Gokale Tufon, and Axion for the furnishing and

                      arranging for the furnishing of any item or service for which

                      payment may be made in whole or in part under the Medicare

                      program, in violation of 42 U.S.C. § 1320a~7b(b)(l)(A);

               b. to violate the Anti-Kickback statute by knowingly and willfully

                      offering and paying remuneration, including any kickback, directly

                      or indirectly, overtly or covertly, in cash or in kind, to recruiters or

                       marketers” and others to induce the referral of Medicare


                      beneficiaries to Beryl-Anne Tufon Lobe, a/li/a Beryl-Anne

                      Gokale Tufon, and Axion for the furnishing of any item or service

                      for which payment may be made in whole or in part under the

                      Medicare program, in violation of 42 U.S.C. § 1320a-7b(b)(l)(A);

                      and

              c. to violate the Anti-Kickback statute by knowingly and willfully

                      offering and paying remuneration, including any kickback, directly

                      or indirectly, overtly or covertly, in cash or in kind, to Medicare

                      beneficiaries to induce the beneficiaries to purchase, lease, order,


                      and arrange for or recommend purchasing, leasing, and ordering any


                      good, facility, service, and item for which payment may be made in

                      whole or in part under the Medicare program, in violation of 42

                      U.S.C. § 1320a-7b(b)(2)(B).




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                                   Object of the Conspiracy

       3. It was the object of the conspiracy for the defendant Beryl-Anne Tufon

Lobe, a/k/a Beryl-Anne Gokale Tufon, and co-conspirators to unlawfully enrich


themselves by buying and selling Medicare beneficiary information, including Medicare

beneficiary names and Medicare Health Insurance Claim Numbers ( Medicare

numbers ), which was then used to bill Medicare for home health services.

                             Manner and Means of the Conspiracy

       The manner and means by which the defendant Beryl-Anne Tufon Lobe, a/k/a

Beryl-Anne Gokale Tufon, and co-conspirators sought to accomplish the object and

purpose of the conspiracy included, among others, the following:

       4. To find eligible Medicare beneficiaries, Beryl-Anne Tufon Lobe, a/k/a

Beryl-Anne Gokale Tufon, would and did pay kickbacks to certain co-conspirators

called recruiters or “marketers” who recruited and referred Medicare beneficiaries to


Axion, a home health company owned by Beryl-Anne Tufon Lobe, a/k/a Beryl-Anne

Gokale Tufon, for the purpose of billing Medicare for home health services purportedly

provided to those beneficiaries.

       5. ecruiters and others acting on behalf of Beryl-Anne Tufon Lobe, a/k/a

Beryl-Anne Gokale Tufon, would and did receive kickback payments from Beryl-Anne

Tufon Lobe, a/k/a Beryl-Anne Gokale Tufon, in exchange for the referral of Medicare

beneficiaries to Axion for the purpose of billing Medicare for home health se vices

purportedly provided to those beneficiaries.




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      6. Beryl-Anne Tufon Lobe, a/lt/a Beryl-Anne Gokale Tufon, and co¬


conspirators paid kickbacks to Medicare beneficiaries for the purpose of arranging for

home health services purportedly provided to those beneficiaries for which payment may

be made in whole or in part under Medicare.

                                         Overt Acts

       7. In furtherance of the conspiracy and to effect the objects thereof, the

following overt acts, among others, were committed in the Eastern District of Texas, and


elsewhere:

              a. On or about April 29, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee

                       with the name, date of birth, and Medicare number of Medicare

                       beneficiaries D.D. and H.D.

              b. On or about April 30, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee

                       with the name, date of birth, and Medicare number of Medicare

                       beneficiaries H.A. and S.E.

              c. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, made a withdrawal of $5,000 cash from

                       Axion s bank account (Account No. xxxxxOOBS) with the notation

                        Marketing Jacksonville on the withdrawal slip.

              d. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, made a withdrawal of $5,000 cash from


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                       Axion s bank account (Account No. x x x9321) with the notation

                        Marketing Jacksonville written on the withdrawal slip.

             e. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, paid cash to Medicare beneficiary D.D., who


                       lived in Frankston, Texas, to sign up for home health services with

                       Axion.

             f. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary D.D. as a registered nurse.


              g. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, paid cash to Medicare beneficiary H.D., who

                       lived in Frankston, Texas, to sign up for home health services with

                       Axion.

              h. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary H.D. as a registered nurse.


              i. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, and a co-conspirator recruiter paid cash to


                       Medicare beneficiary H.A., who lived in Frankston, Texas, to sign


                       up for home health services with Axion.




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             j. On or about May 5, 2015, Beryl-Anne Tufon Lobe, a/li/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary H.A. as a registered nurse.


              k. On or about May 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee

                       with the name, date of birth, and Medicare number of Medicare

                       beneficiary W J.

              l. On or about May 11, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee

                       with the name, date of birth, and Medicare number of Medicare

                       beneficiaries T.M. and R.M.


              m. On or about May 12, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, cashed a check written on Axion s bank

                       account (Account No. xxxxx0088) in the amount of $7,000 and

                       made payable to herself with the notation Marketing in Jacksonville

                       & Nacogdoches written on the check.


              n. On or about May 12, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, and a co-conspirator recruiter paid cash to


                       Medicare beneficiary S.E., who lived in Frankston, Texas, to sign up


                       for home health services with Axion.




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              o. On or about May 12, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary S.E. as a registered nurse.


              p. On or about May 12, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, paid Medicare beneficiary W J., who lived in

                       Jacksonville, Texas, to sign up for home health services with Axion.

              q. On or about May 12, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary W J. as a registered nurse.

              r. On or about May 14, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, cashed a check written on Axion s bank

                       account (Account No. xxxxx0088) in the amount of $800 and made

                       payable to herself with the notation Marketing Jacksonville

                       written on the check.

              s. On or about May 14, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee


                       with the name, date of birth, and Medicare number of Medicare

                       beneficiary E.T.

              t. On or about May 16, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, cashed a check written on Axion s bank

                       account (Account o. xxxxx0088) in the amount of $6,000 and




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                     made payable to herself with the notation Marketing Tyler,

                     Jacksonville & Nacogdoches written on the check.

            u. On or about May 16, 2015, a co-conspirator recruiter paid cash to


                     Medicare beneficiary T.M., who lived in Lufkin, Texas, to sign up

                     for home health services with Axion.

            v. On or about May 16, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                     Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                     485) for Medicare beneficiary T.M. as a registered nurse.

            w. On or about May 16, 2015, a co-conspirator recruiter paid cash to


                     Medicare beneficiary R.M., who lived in Lufkin, Texas, to sign up

                     for home health services with Axion.

            x. On or about May 16, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                     Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                     485) for Medicare beneficiary R.M. as a registered nurse.

            y. On or about May 16, 2015, a co-conspirator recruiter paid cash to

                     Medicare beneficiary E.T., who lived in Nacogdoches, Texas, to


                     sign up for home health services with Axion.

            z. On or about May 16, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                     Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                     485) for Medicare beneficiary E.T. as a registered nurse.

            aa. On or about May 28, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                     Anne Gokale Tufon, made a cash withdrawal of $7,800 from


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                       Axion s bank account (Account No. xxxxx0088) with the notation

                        Marketing in Jacksonville & Nacogdoches written on the

                       withdrawal slip.

              bb. On or about June 5, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, sent a text message to an Axion employee

                       with the name, date of birth, and Medicare number of Medicare

                       beneficiaries M.J., L.J., C.W., and R.S.


              cc. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, made a cash withdrawal of $10,000 from

                       Axion s bank account (Account No. xxxxx0088) with the notation

                       “Marketing in Jacksonville, Nacogdoches & Lufkin written on the

                       withdrawal slip.

              dd. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, sent a text message to an Axion employee


                       with the name, date of birth, and Medicare number of Medicare

                       beneficiary O.B.

              ee. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, paid cash to Medicare beneficiary O.B., who

                       lived in Tyler, Texas, to sign up for home health services with

                       Axion.




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              ff. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary O.B. as a registered nurse,


              gg. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, and a co-conspirator recraiter paid cash to


                       Medicare beneficiary M.J., who lived in San Augustine, Texas, to


                       sign up for home health services with Axion.

              hh. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary M.J. as a registered nurse,


              ii. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, and a co-conspirator recraiter paid cash to


                       Medicare beneficiary L.J., who lived in San Augustine, Texas, to


                       sign up for home health services with Axion.

              jj. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/lx/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary L.J. as a registered nurse,

              kk. On or about June 10, 2015, a co-conspirator recruiter paid cash to


                       Medicare beneficiary C.W., who lived in Nacogdoches, Texas, to


                       sign up for home health services with Axion.




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              11.      On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary C.W. as a registered nurse,


              mm. On or about June 10, 2015, a co-conspirator recruiter paid cash to


                       Medicare beneficiary R.S., who lived in Nacogdoches, Texas, to


                       sign up for home health services with Axion.

              nn. On or about June 10, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, digitally signed a Plan of Care (CMS Form

                       485) for Medicare beneficiary R.S. as a registered nurse,

              oo. On or about June 23, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-


                       Anne Gokale Tufon, cashed a check written on Axion s bank

                       account (Account No. xxxxx0088) in the amount of $7,000 and

                       made payable to herself with the notation Marketing Nacogdoches

                       written on the check.

              pp. On or about July 9, 2015, Beryl-Anne Tufon Lobe, a/k/a Beryl-

                       Anne Gokale Tufon, cashed a check written on Axion’s bank


                       account (Account No. xxxxx0088) in the amount of $7,000 and

                       made payable to herself with the notation “Marketing in

                       Nacogdoches Recerts written on the check,


              qq. On or about August 10, 2015, Beryl-Anne Tufon Lobe, a/k/a

                       Beryl-Anne Gokale Tufon, made a cash withdrawal of $4,000 from

                       Axion’s bank account (Account No. xxxxx0088) with the notation


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                      Marketing Sa Augustine & Nacogdoches written on the

                     withdrawal slip.

       All in violation of 18 U.S.C. § 371.

                                  Counts Two through Five

                                                         Violation: 42 U.S.C. § 1320a-
                                                         7b(b)(2)(B) (Offer and Payment
                                                         of Illegal Remuneration) and 18
                                                         U.S.C. § 2 (Aiding and Abetting)

       1. The General Allegations section of this Indictment is realleged and

incorporated by reference as though fully set forth herein.

       2. On or about the following dates, in the Easte District of Texas, the

defendant, Beryl-Anne Tufon Lobe, a/k/a Beryl-Anne Gokale Tufon, aided and

abetted by others known and unknown to the Grand Jury, did knowingly and willfully

offer to pay and did pay remuneration directly and indirectly, overtly and covertly, in

cash and in kind to the Medicare beneficiaries listed below in order to induce these

beneficiaries to arrange for home health treatment through Axion, a service for which

payment may be made in whole or in part under a federal health care program, namely

Medicare.


                        Name of           Approximate
                        Medicare         Date Defendant       Amount Medicare
            Count      Beneficiary        Offered Cash        Paid Axion For
                     Offered Cash By      To Medicare         This Beneficiary
                      the Defendant        Beneficiary



             2             W.J.               May 12, 2015        $2,220.92




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                          Name of         Appro imate
                          Medicare       Date Defendant    Amount Medicare
          Count          Beneficiary      Offered Cash      Paid Axion For
                       Offered Cash By    To Medicare       This Beneficiary
                        the Defendant      Beneficiary



             3              O.B.          June 10, 2015         $2,942.32




             4              MJ.           June 10, 2015         $1,932.95




             5              LJ.           June 10, 2015         $1,626.33




       All in violation of 42 U.S.C. § 1320a-7b(b)(2)(B) and 18 U.S.C. § 2.




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             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
         18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(7)

       As a result of committing the offense alleged in this indictment (18 U.S.C. § 371),

the defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C), 28

U.S.C. § 2461, and 18 U.S.C. § 982(a)(7), any property constituting or derived from

proceeds the defendant obtained as a result of such violation.

       If any property subject to forfeiture, as a result of any act or omission by the

defendant:

              a. Cannot be located upon the exercise of due diligence;
              b. Has been transferred, or sold to, or deposited with a third party;
              c. Has been placed beyond the jurisdiction of the Court;
              d. Has been substantially diminished in value; or
              e. Has been commingled with other property which cannot be
                       subdivided without difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of

any other property of the defendant up to the value of the above forfeitable property,

including but not limited to all property, both real and personal, owned by the defendant.

       By virtue of the commission of the offense alle ed in this indictment, any and all

interest the defendant has in the above-described property is vested in the United States

and hereby forfeited to the United States pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C.

§ 2461(c), and 18 U.S.C. § 982(a)(7).




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                                                A TRUE BILL




Date/ )
     S


JOSEPH D. BROWN
UI JED STAT S ATTOR EY




Assistant United States Atto ey




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA §
                                               §
v.       §      NO.             6:18-CR-_
                                               § (Judge )
BERYL-ANNE TUFON LOBE §
 a/k/a BERYL-ANNE GOKALE TUFON §

                              NOTICE OF PENALTY

                                     Count One

VIOLATION:                       18U.S.C. §371

PENALTY: Imprisonment for not more than 5 years; the greater of
                      a fine not to exceed $250,000, two times the gross gain
                     to the defendant, or two times the loss to the victim;
                                 and a term of supervised release of not more than 3
                                years.


SPECIAL ASSESSMENT: $100.00

                              Counts Two through Five

VIOLATION: 42 U.S.C. § 1320a-7b(b)(2)(B)

PENALTY: Imprisonment for not more than 5 years; the greater of
                      a fine not to exceed $250,000, two times the gross gain
                      to the defendant, or two times the loss to the victim;
                                and a term of supervised release of not more than 3
                                years.


SPECIAL ASSESSMENT: $ 100.00 each count




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